Case 5:21-cv-01801-ODW-SP Document 20 Filed 01/10/22 Page 1 of 3 Page ID #:58




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 6
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 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   Bryan Estrada,                                   Case No.
11                                                    5:21-cv-01801-ODW-SP
                      Plaintiff,
12

13
                      v.                              PLAINTIFF’S CASE
14                                                    STATEMENT
15   Manuel Barajas, et al.,
16
                Defendants.
17

18

19
           1.     ADA VIOLATIONS
20

21         As of the filing of the complaint in this action, the specific ADA
22   violations at 12909 9th St Chino, CA 91710, also known as San Bernardino
23
     County Assessor’s Parcel No. 1020-051-09 (the “Subject Property”) that formed
24
     the basis of the complaint were as set forth below. As of today’s date, no
25
     Defendant has advised Plaintiff that any remedial work has been accomplished in
26
     response to the lawsuit to address, remediate, repair, alter or otherwise provide
27

28                                             -1-
                                   PLAINTIFF’S CASE STATEMENT
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Case 5:21-cv-01801-ODW-SP Document 20 Filed 01/10/22 Page 2 of 3 Page ID #:59




 1
     access regarding any of the following items, all of which were identified clearly in

 2   the Complaint:
 3                      A.       The Subject Property lacks the minimum required
 4   number of ADA compliant accessible parking spaces.
 5                      B.       There was no diagonal striped marking and no blue
 6   border around where an access aisle is supposed to exist adjacent to any designated
 7
     accessible parking space(s) serving the Subject Property.
 8
                        C.       The designated “accessible” parking space(s) and/or blue
 9
     striped access aisles provided at the Subject Property are smaller than permitted by
10
     the ADA.
11
                        D.       The designated “accessible” parking spaces at the Subject
12
     Property do not provide accessible parking signage as required by the ADA.
13

14
     Among other things, they fail to provide tow-away signage and “Minimum Fine

15   $250” signage as required by the ADA and state law to be posted near the
16   designated accessible parking space(s).
17                      E.       The designated “accessible” parking spaces at the Subject
18   Property do not provide the universal symbol of accessibility.
19                      F.       There is no twelve-inch high “NO PARKING” lettering
20   on the blue-striped parking access aisle(s) serving the Subject Property.
21
                        G.       The service counters, point of sale machines and/or self-
22
     serve equipment serving the Subject Property are not within an operable reach
23
     range.
24
                        H.       There is insufficient accessible seating.
25
                        I.       The walkway contains abrupt vertical edges and/or
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     variations over 1/4 inch.
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28                                              -2-
                                    PLAINTIFF’S CASE STATEMENT
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Case 5:21-cv-01801-ODW-SP Document 20 Filed 01/10/22 Page 3 of 3 Page ID #:60




 1
                         J.    Plaintiff is entitled to seek the removal of barriers

 2   whether he encountered them or not [Molski v. Arciero Wine (2008) 164
 3   Cal.App.4th 786], has the right to pursue the removal of barriers effecting his
 4   disability that are discovered during his expert inspection [Doran v. 7-Eleven, Inc.
 5   (9th Cir. 2007) 524 F.3d 1034], and is not obligated to engage in futile gestures in
 6   order to demonstrate standing to remove barriers related to his disability [Pickern
 7
     v. Holiday Quality Foods (9th Cir. 2002) 293 F.3d 1133, 1136]. Accordingly,
 8
     Plaintiff expressly reserves the right to pursue the removal of barriers not identified
 9
     herein that are discovered during an expert inspection on the interior and exterior
10
     customer areas of the Subject Property. On information and belief, the paths of
11
     travel and turning radiuses serving the interior of business locations at the Subject
12
     Property do not comply with the ADA because they provide unreasonably narrow
13

14
     paths of travel and turning radiuses, and the service counters, point of sale

15   machines and/or self-serve equipment serving the Subject Property are not within
16   an operable reach range. These and other matters will be confirmed and
17   documented upon the Plaintiff’s expert inspection.
18

19         2.     DAMAGES
20         Plaintiff has not brought an action for damages at this time.
21

22   Dated: January 10, 2022        LAW OFFICES OF ROSS CORNELL, APC
23

24
                                      By:         /s/ Ross Cornell
25                                           Ross Cornell, Esq.,
                                             Attorneys for Plaintiff,
26
                                             Bryan Estrada
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                                  PLAINTIFF’S CASE STATEMENT
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